 Case 1:22-cv-00997-CFC Document 20 Filed 05/10/23 Page 1 of 2 PageID #: 603




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

                                           )
 AMPT, LLC,                                )
                                           )
              Plaintiff,                   )
                                           )
       v.                                  ) Civil Action No. 22-cv-997-CFC
                                           )
                                           )
 SOLAREDGE TECHNOLOGIES,                   )
 INC. AND SOLAREDGE                        )
 TECHNOLOGIES LTD.,                        )
              Defendants.                  )
                                           )

                           STIPULATION OF DISMISSAL

      Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure,

Plaintiff AMPT, LLC and Defendants SolarEdge Technologies, Inc. and SolarEdge

Technologies, Ltd. (collectively, the “Parties”) hereby represent that they have

resolved all issues in this action by mutual agreement, and hereby stipulate to the

dismissal of all claims with prejudice. All Parties agree to bear their own costs and

attorneys’ fees.




                                         -1-
Case 1:22-cv-00997-CFC Document 20 Filed 05/10/23 Page 2 of 2 PageID #: 604




GREENBERG TRAURIG, LLP                DLA PIPER, LLP

/s/ Benjamin J. Schladweiler          /s/ Stephanie E. O’Bryne
Benjamin J. Schladweiler (#4601)      Brian A. Biggs (#5591)
222 Delaware Ave., Suite 1600         Stephanie E. O’Bryne (#4446)
Wilmington, DE 19801                  Angela Whitesell (#5547)
Telephone: (302) 661-7352             DLA Piper LLP (US)
schladweilerb@gtlaw.com               1201 N. Market Street
                                      Suite 2100
                                      Wilmington, DE 19801
Of Counsel:                           Telephone: (302) 468-5645
                                      brian.biggs@us.dlapiper.com
Scott J. Bornstein                    angela.whitesell@us.dlapiper.com
Brian Prew                            stephanie.obyrne@usdlapiper.com
Wen Xue
Li-Yu Chen                            Of Counsel:
GREENBERG TRAURIG, LLP
One Vanderbilt Avenue                 Matthew D. Satchwell
New York, NY 10017                    DLA PIPER LLP (US)
Telephone: (212) 801-9200             444 West Lake Street, Suite 900
                                      Chicago, IL 60606
Nicholas A. Brown                     Telephone: (312) 368-2111
GREENBERG TRAURIG, LLP
4 Embarcadero Center                  Attorneys for Defendants SolarEdge
San Francisco, CA 94111               Technologies, Inc. and SolarEdge
Telephone: (415) 655-1300             Technologies Ltd.

Vivian S. Kuo
Cyrus T. Frelinghuysen
GREENBERG TRAURIG, LLP
2101 L Street, N.W.
Washington, DC 20037
Telephone: (202) 331-3100

Attorneys for Plaintiff Ampt, LLC


DATE: May 10, 2023




                                    -2-
